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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


PORCHA WOODRUFF,
    an individual,                      Case No.
           Plaintiff,                   Hon.

V

CITY OF DETROIT
a municipal corporation,

LaSHAUNTIA OLIVER,
City of Detroit Police Detective,
Individually, and in his Official
Capacities, and

             Defendants.


                   INDEX OF EXHIBITS TO PLAINTIFF
                   PORCHA WOODRUFF’S COMPLAINT

Exhibit      Description

    1. VICTIM’s Police Report and VICTIM’s Statement

    2. Medical Release

    3. 36th District Court Documents




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           The 36th District Court Case Search will currently only display case information for cases occurred
                                              within the last seven years.



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               _____________________________________________________________________________
              |STATE OF MICHIGAN        |                                | CASE NO:   2305544002 D01 FY |
              |36TH JUDICIAL DISTRICT|        REGISTER OF ACTIONS        |                                    |
              |ORI820365J               |                                | STATUS: CLSD          03/07/23     |
              |PIN: 2301290262          |                                |                                    |
               _____________________________________________________________________________
                                                    JUDGE OF RECORD: SABREE,ALIYAH,                   P-74756
                                                                JUDGE: SABREE,ALIYAH,                 P-74756
               STATE OF MICHIGAN v
                                                                                    CTN: 822370255602
                     WOODRUFF/PORCHA/AMAYA                                          TCN: DS23217260A
                                                                                    SID: 5103455T
                                                                              ENTRY DATE: 02/04/23
                                                                         OFFENSE DATE: 01/29/23        745 PM
                                                                             ARREST DATE:
                                                         VEHICLE TYPE:              VPN:
               YEAR OF BIRTH: 1990     SEX: F    RACE: B                            CDL: U
               VEH YR:             VEH MAKE:                                        PAPER PLATE:
              _______________________________________________________________________________
               DEFENSE ATTORNEY ADDRESS                             BAR NO.
               LAND,IVAN L.,                                        P-65879
               25900 GREENFIELD RD                                  Telephone No.
               STE 210
               OAK PARK            MI 48237                         (248) 968-4545
              _______________________________________________________________________________
               OFFICER: OLIVER LASHAUNTIA M                     |DEPT: 0349012
                                                                |
               PROSECUTOR: KERKER,ALEXANDER PA                  |       P-86282
                                                E/EARL          |
              _______________________________________________________________________________




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               REF:     A C/M/F: F     750529A                                 PACC#750.529A
               CARJACKING
               ARRAIGNMENT DATE:        02/16/23        PLEA:     MUTE & NGBC          PLEA DATE: 02/16/23
               FINDINGS:       DISM BY PTY        DISPOSITION DATE: 03/07/23
               SENTENCING DATE:
                       FINE          COST ST.COST         CON     MISC.         REST     TOT FINE        TOT DUE
                       0.00          0.00       0.00     0.00     0.00          0.00          0.00          0.00
                              JAIL SENTENCE:                PROBATION:
                  VEH IMMOB START DATE:                     NUMBER OF DAYS:              VEH FORFEITURE:
              _______________________________________________________________________________


               BOND HISTORY:
                       100,000.00      PERSONAL        BOND CONTINUED
              _______________________________________________________________________________


               REF:     B C/M/F: F     750529                                  PACC#750.529
               ROBBERY-ARMED
               ARRAIGNMENT DATE:        02/16/23        PLEA:     MUTE & NGBC          PLEA DATE: 02/16/23
               FINDINGS:       DISM BY PTY        DISPOSITION DATE: 03/07/23
               SENTENCING DATE:
                       FINE          COST ST.COST         CON     MISC.         REST     TOT FINE        TOT DUE
                       0.00          0.00       0.00     0.00     0.00          0.00          0.00          0.00
                              JAIL SENTENCE:                PROBATION:
                  VEH IMMOB START DATE:                     NUMBER OF DAYS:              VEH FORFEITURE:
              _______________________________________________________________________________


               NAME: WOODRUFF/PORCHA/AMAYA                           CASE NO: 2305544002          PAGE     2
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                 DATE                              ACTIONS, JUDGMENTS, CASE NOTES                        INITIALS
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                 DATE                          ACTIONS, JUDGMENTS, CASE NOTES                        INITIALS
              _______________________________________________________________________________




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